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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 QUANTUM TECHNOLOGY                            :
 INNOVATIONS, LLC,                             :
                                               :
                       Plaintiff,              :             Case No. 22-583-RGA
                                               :
        v.                                     :
                                               :         JURY TRIAL DEMANDED
 PASSIONFLIX INC.,                             :
                                               :
                       Defendant.              :

             NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41

       Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i), Plaintiff Quantum

Technology Innovations, LLC hereby respectfully gives notice that this action is voluntarily

dismissed without prejudice. Defendant Passionflix Inc. has not served an answer or motion for

summary judgment or otherwise responded to the Complaint (D.I. 1) in this action.


 Dated: October 13, 2022                     Respectfully submitted,

                                             /s/ John C. Phillips, Jr.
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                                    Attorneys for Plaintiff,
                                    Quantum Technology Innovations, LLC




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